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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


                                                    :
WILLIAM METCALF                                     :       CIVIL ACTION NO.
                                                    :       3:15-CV-01696-VAB
                        PLAINTIFF                   :
                                                    :
v.                                                  :
                                                    :
YALE UNIVERSITY, ET AL                              :
                                                    :
                        DEFENDANTS                  :       MARCH 1, 2016
                                                    :


                 PARTIES’ REPORT OF RULE 26(f) PLANNING MEETING

Date Complaint Filed:                November 18, 2015

Date Complaint Served:               November 20, 2015. Served on Attorney Caroline G.
                                     Hendel, Senior Associate General Counsel.

Date of Defendant’s Appearance:      November 25, 2015

        Pursuant to Fed. R. Civ. P. 16(b), 26(f) and D. Conn. L. Civ. R. 16, a Conference was

held on February 29, 2016. The participants were:


For Plaintiff:

        Ethan Levin-Epstein, Esq.
        GARRISON, LEVIN-EPSTEIN, FITZGERALD & PIRROTTI, P.C.
        405 Orange Street
        New Haven, CT 06511

For Defendant:

        Patrick M. Noonan, Esq.
        DONAHUE, DURHAM & NOONAN, P.C.
        Concept Park
        741 Boston Post Road, Suite 306
        Guilford, CT 06437



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I.     CERTIFICATION

       Undersigned counsel certify that, after consultation with their clients, they have discussed

the nature and basis of the parties’ claims and defenses and any possibilities for achieving a

prompt settlement or other resolution of the case and, in consultation with their clients, have

developed the following proposed case management plan. Counsel further certify that they have

forwarded a copy of this report to their clients.

II.    JURISDICTION

       A.      Subject Matter Jurisdiction

       This Court has subject matter jurisdiction in this case pursuant to 28 U.S.C. § 1331, under

The Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq.

       B.      Personal Jurisdiction

       No defense of lack of personal jurisdiction has been raised.

III.   BRIEF DESCRIPTION OF CASE

       A.      Claims of plaintiff

       The plaintiff, William Metcalf, brings this case for damages sustained as a result of the

defendant Yale University’s age discrimination. The plaintiff alleges that on August 29, 2014 he

was wrongfully terminated from his employment as Curator of Coins and Medals with the Yale

University Art Gallery and as an Adjunct Professor of Classics because of age discrimination.

       B.      Defenses and claims (counterclaims, third party claims, cross claims) of
               defendant

       The defendant denies that it discriminated against the plaintiff, and alleges that he was

terminated for cause due to sexual harassment

       C.      Defenses and claims of third party defendant(s):

               Not applicable.

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IV.    STATEMENT OF UNDISPUTED FACTS

       Counsel certify that they have made a good faith attempt to determine whether there are

any material facts that are not in dispute. The parties state that the following material facts are

undisputed:

       1.      That plaintiff worked for Yale University for more than 12 years.

       2.      That plaintiff is entitled to a jury trial.

       3.      That the Court has subject matter jurisdiction over this action under 28 U.S.C. §
               1331.

       4.      That venue is proper in this District under 28 U.S.C. § 1391(b)(2), because a
               substantial part of the events or omissions giving rise to the asserted claims
               occurred here.

       5.      That this Court has supplemental jurisdiction over the Plaintiff’s state law claims,
               pursuant to 28 U.S.C. § 1367, because they form part of the same case or
               controversy as the federal law claims.

       6.      That the defendant is Yale University (“Yale”), an educational institution located
               in New Haven, Connecticut.

       7.      That Yale employs more than 20 or more employees in Connecticut.

       8.      That at all relevant times mentioned in the Complaint, Yale was the plaintiff’s
               employer within the meaning of the federal Age Discrimination in Employment
               Act (ADEA), 29 U.S.C. § 623; and the Connecticut Fair Employment Practices
               Act (CFEPA), Conn. Gen. Stat. § 46a-60(a).

       9.      That plaintiff filed a complaint with the Connecticut Commission on Human
               Rights and Opportunities (“CHRO”) alleging age discrimination.

       10.     That the plaintiff’s CHRO complaint was dual filed with the federal Equal
               Employment Opportunity Commission.

       11.     That the plaintiff’s CHRO complaint was filed in a timely manner, as it was filed
               within 180 days of the date that plaintiff received notice of his termination.

       12.     That plaintiff received a Release of Jurisdiction from the CHRO, dated August 31,
               2015 and filed his Complaint in the instant case within 90 days of his receipt of
               the Release of Jurisdiction from the CHRO.

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V.     CASE MANAGEMENT PLAN:

       A.      Standing Order On Scheduling In Civil Cases

       The parties request modification of the deadlines in the standing order on scheduling in

civil cases consistent with this Report.

       B.      Scheduling Conference With The Court

       The parties request a pretrial conference with the Court before entry of a scheduling order

pursuant to Fed. R. Civ. P. 16(b). The parties prefer a Rule 16(a) conference by telephone.

       C.      Early Settlement Conference

               1.      The parties certify that they have considered the desirability of attempting

                       to settle the case before undertaking significant discovery or motion

                       practice. Settlement is unlikely at this time.

               2.      The parties do not request an early settlement conference.

               3.      The parties prefer a settlement conference with a Magistrate Judge.

               4.      The parties alternatively request at this time a referral for alternative

                       dispute resolution pursuant to D. Conn. L. Civ. R. 16.

       D.      Joinder of Parties and Amendment of Pleadings

               1.      Although the Plaintiff does not anticipate amendment of the pleadings at

                       this time, he reserves the right to amend the complaint at the close of

                       discovery in accordance with the Federal Rules of Civil Procedure.

                       Defendant does not agree to this request, and requests that any amendment

                       be made on or before March 15, 2016. Both parties reserve their rights to

                       amend the complaint and/or answer and/or object to an amendment.

               2.      Defendant should be allowed until March 15, 2016 to file motions to join

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           additional parties.

E.   Discovery

     1.    The parties anticipate that discovery will be needed on the following

           subjects: Circumstances concerning the plaintiff’s employment and

           termination by the defendant.

     2.    All discovery, including depositions of expert witnesses pursuant to Fed.

           R. Civ. P. 26(b)(4), will be commenced by March 1, 2016, and completed

           (not propounded) by March 3, 2017.

     3.    Discovery will be conducted in phases, with expert disclosure to

           follow depositions of fact witnesses.

     4.    Discovery will be completed by March 3, 2017.

     5.    The parties anticipate that the plaintiff will require a total of six (6)

           depositions of fact witnesses and that Yale University will require a total

           of six (6) depositions of fact witnesses. The depositions will commence

           by April 15, 2016 and be completed by November 1, 2016.

     6.    The parties do not anticipate requesting permission to serve more than 25

           interrogatories, but reserve the right to do so if deemed necessary.

     7.    Plaintiff will designate all retained trial experts and provide opposing

           counsel with reports from retained experts pursuant to Fed. R. Civ. P.

           26(a)(2)(B) by December 1, 2016. Depositions of any such retained

           experts will be completed by February 28, 2017.

     8.    Defendant will designate all trial experts and provide opposing counsel

           with reports from retained experts pursuant to Fed. R. Civ. P. 26(a)(2) by



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          January 16, 2017. Depositions of such experts will be completed by March

          3, 2017.

    9.    The parties disagree on the date for plaintiff to file a damage analysis.

          Plaintiff has proposed that the damages analysis will be provided by any

          party who has a claim or counterclaim for damages within 15 days after

          the receipt of an expert’s report, in the event that party chooses to engage

          an expert, or within 15 days of the completion of discovery. Defendant

          wishes to have the damages analysis available for the plaintiff’s deposition

          and therefore requests that it be filed by April 15, 2016, when depositions

          can be conducted.

    10.   Undersigned counsel have discussed the disclosure and preservation of

          electronically stored information, including, but not limited to, the form in

          which such data shall be produced, search terms to be applied in

          connection with the retrieval and production of such information, the

          location and format of electronically stored information, appropriate steps

          to preserve electronically stored information, and the allocation of costs of

          assembling and producing such information. The parties agree to the

          following procedures for the preservation, disclosure and management of

          electronically stored information:

          Defendant shall retain, until conclusion of this lawsuit, all emails,

          computer notes, computer logs, and computer generated reports,

          memoranda or documents prepared by anyone employed by Yale

          University or the Yale Art Gallery pertaining to the last five (5) years of



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          plaintiff’s employment, his grievance proceeding and termination that

          were created at any point from the last five (5) years of his employment.

          The plaintiff shall retain until the conclusion of this lawsuit all emails,

          computer notes, diaries, memoranda, phone records, and financial records

          relating to compensation lost due to the plaintiff’s termination until the

          present that were created by the plaintiff.

          Both parties agree to preserve the electronically stored information

          identified above, but reserve their right to object to disclosure of any such

          information.

    11.   Undersigned counsel have discussed discovery procedures that minimize

          the risk of waiver of privilege or work-product protection, including

          procedures for asserting privilege claims after production. The parties

          agree to the following procedures for asserting claims of privilege after

          production or the parties have been unable to reach agreement on the

          procedures for asserting claims of privilege after production:

          If electronically stored information is produced in discovery and is subject

          to a claim of privilege or of protection as trial preparation material, the

          party making the claim may notify any party that received the information

          of the claim and the basis for it. After being notified, a party must

          promptly sequester the information and any copies it has and may not use

          or disclose the information until the claim is resolved. If the receiving

          party does not dispute the producing party’s claim of privilege or work

          product, the receiving party shall promptly return the information or



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                        destroy it. If the receiving party disputes the privilege or work product

                        claim, it may promptly present the information to the Court under seal for

                        a determination of the claim, or the receiving party may inform the

                        producing party in writing that it disputes the claim. The producing party

                        may then promptly move the Court for an Order to return the

                        electronically stored information. If the receiving party disclosed the

                        information before being notified, it must take reasonable steps to retrieve

                        it. The producing party must preserve the information until the claim is

                        resolved.

         F.     Dispositive Motions

         Dispositive motions will be filed on or before April 28, 2017.

         G.     Joint Trial Memorandum

         The joint trial memorandum required by the standing order on trial memoranda in civil

cases will be filed within 45 days of the ruling on dispositive motions, should such motions be

filed, or within 45 days after the parties notify one another that dispositive motions will not be

filed.

VI.      TRIAL READINESS

         The case will be ready for trial 30 days after the submission of the Joint Trial

Memorandum.

         As officers of the court, undersigned counsel agree to cooperate with each other and the

court to promote the just, speedy and inexpensive determination of this action.




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                            Respectfully submitted,
                            FOR THE PLAINTIFF,
                            WILLIAM METCALF


                         By:                     /s/
                           Joseph D. Garrison, Esq., (Fed. Bar No. ct04132)
                           Ethan Levin-Epstein, Esq. (Fed. Bar No. ct01566)
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                            FOR THE DEFENDANT,
                            YALE UNIVERSITY

                         By:                    /s/
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                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 1st day of March, 2016 a copy of the foregoing

document was filed electronically. Notice of this filing will be sent by e-mail to all parties by

operation of the Court’s electronic filing system or by mail to anyone unable to accept electronic

filing as indicated on the Notice of Electronic Filing. Parties may access this filing through the

Court’s CM/ECF System.




                                                                           /s/
                                                      Patrick M. Noonan, Esq.




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